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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA,
                           BILLINGS DIVISION

DENISE FABRIZIUS and                          )    Cause No. 08-114-BLG-RFC
WILLIAM FABRIZIUS,                            )
                                              )
                   Plaintiffs,                )
                                              )
      v.                                      )          ORDER
                                              )
                                              )
KEITH R. SHULTZ, M.D.,                        )
DOES 1 through X, and Roe Corporations        )
I through X, inclusive,                       )
                                              )
                Defendants.                   )
___________________________________ )


      Currently pending before the Court is Keith Shultz, M.D.’s Motion for Partial

Summary Judgment. This matter is fully briefed and the Court is prepared to rule

without oral arguments.




                                 BACKGROUND

      Plaintiff made an appointment to see Dr. Copeland, a Billings neurosurgeon,

on November 10, 2004, for a second opinion regarding pain symptoms.

D. Fabrizius, 88:19-89:12. When he reviewed the previous MRI studies, Dr.



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Copeland saw spondylosis “most prominently at C6-7 but also at C4-5 and C5-6.”

Copeland, 17:14-18:9. However, Dr. Copeland could not find diagnostic answers

for the cause(s) of all her symptoms. Id., 17:14-19:22, 20:22-21:5. The confusion

between the symptoms she described and his objective finding was why “. . . I sent

her for an epidural to see if I could add some clarity.” Id., 87:14-22. He wanted to

see if there was a treatable problem he could help, so a cervical ESI was the next

test he wanted done. Id., 22:21-23:16.

      Dr. Copeland recommended Plaintiff see Dr. Shultz for the ESI. D.

Fabrizius, 168:4-8. The way she remembers it, “Dr. Copeland said something to

the effect that if he knew somebody that was really good at this or – he made me

feel comfortable with the fact that Dr. Shultz would be a good doctor to go to to

have this done.” Id., 92:6-10. Dr. Copeland led Plaintiff “to believe that [Dr.

Shultz] was a good doctor and was good at what he does;” and evidently, that he

preferred Dr. Shultz do the ESI. Id., 168:4-12, 169:3-8. During the consultation

Dr. Copeland arranged and scheduled a C6-7 ESI. Copeland, 26:13-27:14; D.

Fabrizius, 91:12-18. The purposes were to help him make a diagnosis, Copeland,

18:24-19:22, 20:19-21:5, 22:10-23, along with the hope of it being therapeutic for

her. Copeland, 22:24-23:13, D. Fabrizius, 91:6-9.




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      Dr. Shultz performed a cervical epidural steroid injection under fluoroscopy

on Plaintiff. Dr. Shultz dictated a note on Plaintiff’s procedure on the date of the

procedure and his dictation was later transcribed. Shultz, 214: 7-14. The

preliminary typed dictation stated:

             Subsequent to the epidurogram, no evidence of CSF and
             paresthesia seems to improve after subsequent negative
             aspiration of 40 mg of Kenalog followed by 0.25% of Marcaine
             1 cc was injected without difficulty.

Shultz, 220: 9-13.

      Upon review of the preliminary document one to two weeks after the

procedure note was dictated, Dr. Shultz made changes before he signed it and it

became the final medical record of the epidural injection. Shultz, 213: 12-22; 128:

17-22. Before signing the preliminary report, Dr. Shultz changed a sentence of the

unsigned preliminary note to “more accurately reflect then what happened during

the procedure.” Shultz, 128:23-25.

      After Dr. Shultz’s review of the preliminary report and finalization of the

medical record, the sentence at issue in the final report read as follows:

             Subsequent to the epidurogram, no evidence of CSF, and paresthesia
             improved. Subsequent negative aspiration was done and 40 mg of
             Kenalog followed by 0.25 % of Marcaine 1 cc was injected without
             difficulty.

Shultz, 219: 3-19.

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       November 10, 2004 was the only day Plaintiff was at the YSC for care. Doc.

38, Ex. 1. There is no evidence of anyone giving YSC the names of care providers,

other than Dr. Copeland, and asking that a copy of Plaintiff’s records be sent to

those providers. Id. There is no evidence of any treating physician asking for

Plaintiff’s records directly. Id. With the exception of the unsigned copy of Dr.

Shultz’s report found in Dr. Copeland’s records, there is no evidence of any treating

healthcare provider being sent any of the YSC records regarding Plaintiff’s visit. Id.

       Dr. Copeland denies reading reports like Dr. Shultz’s in very close detail

because the information is usually not very pertinent and in all likelihood he already

has the information. Copeland 72:5-73:3, 77:24-78:2. It does not appear that Dr.

Copeland relied upon Dr. Shultz’s unsigned report in trying to help Plaintiff with her

complaint after the ESI. Id., 30:18-43:6, 49:1-56:1. There is also no evidence of

any treating healthcare provider relying on any of the YSC records in the course of

caring for Plaintiff.

       On November 6, 2007, prior to filing the Complaint and four days before the

three-year statute of limitations expired, Plaintiffs filed a Montana Medical Legal

Panel (MMLP) claim, as required by Montana law. The MMLP rendered its

decision on February 19, 2008.




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                                     ANALYSIS

I.    Summary Judgment Standard

      Summary judgment is proper when “the pleadings, the discovery and

disclosure materials on file, and any affidavits show that there is no genuine issue as

to any material fact and that the movant is entitled to judgment as a matter of law.”

Fed.R.Civ.P. 56(c). An issue is “genuine” only if there is a sufficient evidentiary

basis on which a reasonable fact finder could find for the nonmoving party and a

dispute is “material” only if it could affect the outcome of the suit under the

governing law. Anderson, v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

      The party moving for summary judgment has the initial burden of showing the

absence of a genuine issue of material fact. Anderson, 477 U.S. at 256-57. Once

the moving party has done so, the burden shifts to the opposing party to set forth

specific facts showing there is a genuine issue for trial. In re Barboza, 545 F.3d

702, 707 (9th Cir. 2008). The nonmoving party “may not rely on denials in the

pleadings but must produce specific evidence, through affidavits or admissible

discovery material, to show that the dispute exists.” Id.

      On summary judgment, the evidence must be viewed in the light most

favorable to the non-moving party. Id. The court should not weigh the evidence



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and determine the truth of the matter, but determine whether there is a genuine issue

for trial. Anderson, 477 U.S. at 249.

A.    Can Plaintiff Make the Threshold Showing that the Alleged Alteration of
      Medical Records Caused Damages?

      Mont. Code Ann. § 27-1-202 provides for an award of actual damages.

Mont. Code Ann. § 27-1-221, provides for exemplary damages where a defendant is

guilty of either actual fraud or actual malice. The statute sets forth the requirements

for actual fraud and actual malice as follows:


      (2)    A defendant is guilty of actual malice if the defendant has
             knowledge of facts or intentionally disregards facts that create a
             high probability of injury to the plaintiff and:
             (a)   deliberately proceeds to act in conscious or intentional
                   disregard of the high probability of injury to the plaintiff;
                   or
             (b)   deliberately proceeds to act with indifference to the high
                   probability of injury to the plaintiff.

      (3)    A defendant is guilty of actual fraud if the defendant:
             (a)   makes a representation with knowledge of its falsity; or
             (b)   conceals a material fact with the purpose of depriving the
                   plaintiff of property or legal rights or otherwise causing
                   injury.

      (4)    Actual fraud exists only when the plaintiff has a right to rely
             upon the representation of the defendant and suffers injury as a
             result of that reliance.

Mont. Code Ann. § 27-1-221 (2009).



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      The Montana Supreme Court recently held that “whether a plaintiff can

establish malice which is necessary to justify an award of punitive damages is an

intensely fact specific inquiry.” Logerstedt v. Dist. Court of the Fourth Judicial

Dist., OP 09-0587, Mont. Nov. 2, 2009. A complete record is undeniably the most

desirable way to see if there is sufficient evidence to prove malice. Id.

      In this case, in order to avoid summary judgment in favor of Dr. Shultz on the

punitive claim based on actual malice, Plaintiff needs to make a threshold showing

that Dr. Shultz knew of or intentionally disregarded “facts that create[d] a high

probability of injury” to Plaintiff. Plaintiff must also show that despite this

knowledge, Dr. Shultz, “deliberately proceed[ed] to act in conscious or intentional

disregard of the high probability of injury to the plaintiff” or “deliberately

proceed[ed] to act with indifference to the high probability of injury to the plaintiff.”

Mont. Code Ann. § 27-1-221(2).

      Likewise, to avoid summary judgment on a claim for punitive damages based

on actual fraud, Plaintiffs must make a threshold showing that “[Dr. Shultz] ma[de]

a representation with the knowledge of its falsity” that he “conceal[ed] a material

fact with the purpose of . . . causing injury” to Plaintiff. Mont. Code Ann. § 27-1-

221(3). “Actual fraud exists only when the plaintiff has a right to rely upon the




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representation of the defendant and suffers injury as a result of that reliance.” Mont.

Code Ann. § 27-1-221(4).

       In this case, it is undisputed that Dr. Shultz made a change to his preliminary

report regarding his treatment of Plaintiff. Those changes were made by Dr. Shultz

before he signed the record and it became an official medical record of the

November 10, 2004 procedure.

       Additionally, it is also undisputed that with the exception of the unsigned

copy of Dr. Shultz’s report found in Dr. Copeland’s records, there is no evidence of

any treating healthcare provider being sent any of the YSC records regarding

Plaintiff’s visit. Doc. 38, Ex. 1. Dr. Copeland denies reading reports like Dr.

Shultz’s in very close detail because the information is usually not very pertinent

and in all likelihood he already has the information. Copeland 72:5-73:3, 77:24-

78:2. Dr. Copeland did not rely upon Dr. Shultz’s unsigned report in trying to help

Plaintiff with her complaint after the ESI. Id., 30:18-43:6, 49:1-56:1. There is no

evidence of any treating healthcare provider relying on any of the YSC records in

the course of caring for Plaintiff.

       An examination of the signed medical record and the changes made by Dr.

Shultz reveal that a healthcare provider can see and read both the typed, unsigned




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preliminary report and the handwritten changes or corrections made by Dr. Shultz

before he signed it and it became the final medical record of Plaintiff’s procedure.

       Plaintiffs have failed to make a threshold showing that the preliminary draft or

the final medical record of Plaintiff’s procedure caused or contributed to any injury

or damages of Plaintiffs. Therefore, summary judgment on the punitive claims is

appropriate.

B.     Should Plaintiffs’ Third Cause of Action Pertaining to the Doctrine of
       Res Ipsa Loquitur be Dismissed?

       Dr. Shultz relies upon Rudeck v. Wright, 218 Mont. 41, 709 P.2d 621 (1985)

and argues that the doctrine of res ipsa loquitur only applies in a medical

malpractice action when a doctor leaves a foreign body in a patient. However, the

Rudeck Court did not say such circumstances are the only instances in which res

ipsa loquitur may apply in a medical setting.

       The Montana Supreme Court has long held that before the doctrine of res ipsa

loquitur can be applied in medical malpractice cases, a plaintiff must prove that the

result complained of rarely occurs and that it is not an inherent risk of the procedure.

Clark v. Norris, 226 Mont. 43, 49, 734 P.2d 182 (1987).

       In this case, the Court does not have a sufficient basis to rule that because

there was not a foreign body left in Plaintiff it is not a res ipsa loquitur case.



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However, the Court is interested in whether there are disputed issues of material fact

as to whether the result complained of rarely occurs and whether it is an inherent

risk of the procedure.

                                  CONCLUSION

      Based upon the foregoing, IT IS HEREBY ORDERED that Dr. Shultz’s

Motion for Partial Summary Judgment [doc. 58] is GRANTED IN PART AND

DENIED IN PART. Plaintiff’s Fifth Cause of Action for punitive damages is

DISMISSED.

      DATED this 15th day of January, 2010.

                                       /s/ Richard F. Cebull__________
                                       RICHARD F. CEBULL
                                       U.S. DISTRICT COURT JUDGE




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